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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       CRIMINAL NO. 21-CR-0246 (ABJ)
                                              :
DANIEL JOSEPH RODRIGUEZ,                      :
                                              :
                       Defendant.             :


                           GOVERNMENT’S OBJECTION TO
                    DEFENDANT’S NOTICE OF AFFIRMATIVE DEFENSE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully objects to the defendant’s affirmative defense of public

authority, noticed in ECF No. 37. The government will provide fulsome briefing in the form of a

motion in limine when the Court sets the pretrial order in this case.




Dated: OCTOBER 29, 2021                       Respectfully submitted,


                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney

                                      By:     _______/s/________________
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